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; AUSA: Timothy Wyse . me .~ Telephone: (313) 226-9144
- AO91 (Rev. ey Criminal Complaint:  Agetit: Mark Koch. - Telephone: G13); 226-5033
UNITED STATES DISTRICT Court
for the oe

_ Eastern District of Michigan

United States of America:
Vv.

D-1 Jarratt White - . | | ‘Case: 2:19- -Mj-30227
D-2 Robert Jack | Judge: Unassigned,
D-3 Fendley Joseph | Filed: 05-02- 2019 At 11:51 AM

IN RE:SEALED > MATTER(CMP)(MLW)

CRIMINAL COMPLAINT |

I, the complainant in 1 this’ case, state that the following i is true to the best of my knowledge and belief,

 

On or about the date(s) of _ “May 2018 - in. n the county-of Wayne inthe |
Eastern __ District of _ Michigan , the defendant(s) violated:
Code. Section no 7 -. Offense Description

18 U.S.C. §1343- Wire Fraud

 

This. criminal complaint i is. based:on ‘these facts:
Please see attached affidavit. : ,

 

. Continued on the attached sheet.

 

Complainant s signature.

7 Mark Koch - Special Agent
Printed name and title .

Sworn: to before me and signed in my presenice. mo ne
Date: = wa oo wee . » Judge’ S signature

 

> City and state: Detroit, Michigan a . = . : Auton. Patti- U.S. Magistrate Judge
' a : Printed name and title
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AFFIDAVIT
A a

Met ,
iareh R. Koch, being duly sworn, deposes and states:

1. Lama Special Agent with Homeland Security Investigations (HSI), Detroit,
Michigan, and have been so employed for fifteen years. My duties include
investigating computer crimes and financial crimes. The allegations
contained in this affidavit are based on the review of records and HSI
interviews. Because this affidavit is being submitted for the limited purpose
of establishing probable cause for a criminal complaint, I have not included
every detail of every aspect of the investigation. Rather, I have set forth
only those facts that I believe are necessary to-establish probable cause that
J ARRATT WHITE, ROBERT JACK, and FENDLEY JOSEPH knowingly
participated in a scheme to defraud through the transmission of wire
communication in interstate commerce for the purpose of executing the
scheme, in violation of 18 U.S.C. §1343. All conversations and statements

_ described in this affidavit are related in substance and in part, and are not

verbatim quotations.
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BACKGROUND ON “THE COMMUNITY”

2. “The Community” was a loosely organized group of individuals dedicated to
online identity theft. A subset of The Community focused on the theft of
cryptocurrencies such as Bitcoin, LiteCoin, and Ethereum.

3. Members of The Community planned and organized their activities on |
online forums and over diverse channels of communication. Broader
discussions—such as discussing the manner and means of attacks generally,
and networking among The Community’s members—typically took place on
forums such as “OGUsers” and “Hackforums.” Planning and execution of
specific attacks, as well as victim selection and recruiting, usually took place
via platforms such as Discord, Skype, Signal, Wickr, and Telegram.

4. The Community engaged in “SIM Hijacking,” or “SIM Swapping.” This
tactic enabled The Community to gain control of a victim’s mobile phone

- number by linking that number to a subscriber identity module (“SIM”) card
controlled by The Community—resulting in the victim’s phone calls and
short message service (“SMS”) messages being routed to a device controlled
bya member of The Community.

5. Once The. Community had control of a victim’s phone number, it was

leveraged as a gateway to gain control of online accounts such as the

victim’s email, cloud storage, and cryptocurrency exchange accounts.
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- Sometimes this was achieved by requesting a password-reset link be sent via
SMS to the device controlled by The Community. Sometimes passwords :
were compromised by other means, and The Community's device was used

to receive two-factor authentication (“2FA”) messages sent via SMS-
intended for the victim.

6. Specific members of The Community endeavored to gain control ofa
‘victim’s cryptocurrency wallet or online cryptocurrency exchange account
~ and steal the vietim’s funds. | Stolen funds from a successful attack were |
divided among members of The Community that participated it that attack.
7. During these attacks, one or more members of The Community would
appropriate the online identity of the victim, using means of identification
‘including the victim’s name, email, and mobile phone number. .
8. SIM Hijacking was often facilitated by bribing an employee of ‘a mobile
| phone provider. These employees, while not necessarily knowing the
entirety of The Community’s plans, were aware that they were assisting in
the theft of identities of subscribers to their employer’s services. _
~ 9. On April 18, 2019, six members of The Community were indicted by a
grand jury in the Eastern District of Michigan on charges of Wire Fraud (18
U.S.C. 1343), Conspiracy to Commit Wire Fraud (18 U.S.C. 1349), and

Aggravated Identify Theft (18 U.S.C. § 1028A(a)(1))

3
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JARRATT WHITE . |
| 10. JARRATT WHITE i is a former contract employee of AT&T residing i in .
Arizona. He was repeatedly bribed by JD, a member of The Community, to
assist The Community with their attacks.
11. WHITE’s support is linked to the thefts from victims JP ($1,669.56), AL
($55,493.76), SS ($1,921,335 .80), and MT ($164,972.47). In total,
WHITE’s assistance facilitated the theft of approximately $2, 143 ATL. 59.
12. JD communicated with WHITE via Telegram: WHITE used the handle -
“0.” Records from LocalBitcoins.com (a site that JD used to pay WHITE.
by way of PayPal) and PayPal demonstrate that JD paid a total of
approximately $4, 300 i in May 2018 toa PayPal account associated with the
| email address J arrattw@amail. com. User information provided by PayPal
linked this account to JARRATT WHITE of Tucson, Arizona.
13. In an interview with HSL, J D described his interaction and payments to
“0.” JD recalled that .O was an employee associated with AT&T and that
his first name started with “J.”
14. Communications from J D to WHITE, as well as the payments made to
WHITE, travelled via wire in interstate commerce originating in the Eastern

District of Michigan.
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15.AT&T confirmed that WHITE was a contract employee from Tucson,
Arizona. They also provided data that confirmed that WHITE conducted
twenty-nine unauthorized SIM swaps in May of 2018-——including the swaps

that facilitated the thefts from JP, AL, and MT.

ROBERT JACK

16. Based on records provided from AT&T, ROBERT JACK, asecond AT&T
contract employee from Tucson, Arizona, conducted twelve unauthorized
SIM swaps in May of 2018—including the swap that facilitated the theft
from vietim SS. | |

17. Based on review of financial transactions and interviews with JD, the
combined forty-one swaps that were conducted by WHITE and JACK match
up approximately with the payments JD made to WHITE.

18. Review of social media indicates that JACK is an associate of WHITE.

19. PayPal payments have been identified made by WHITE to JACK that are
near simultaneous to bribes paid to WHITE by JD. In total, WHITE paid
JACK approximately $585.25 that has been linked to attacks by The

Community.
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FENDLEY JOSEPH
_ 20. FENDLEY J OSEPH was an employee of Verizon residing in Murrieta,
California who was also bribed by JD to assist The Community. Joseph’s
assistance facilitated the theft of approximately $100,000 from victim DM.
21. JOSEPH did not personally swap phone numbers for JD. Instead, JD paid .
J OSEPH to provide Personal Identifiable Information (PIL) for targeted
Verizon customers. With the PII that JOSEPH provided, JD or another
member of The Community would then call Verizon and impersonate the
target—requesting that the target’s phone number be reassigned to a device ©
. controlled by The Community. |
22. JD communicated with JOSEPH via Telegram; J OSEPH used the handle
| “J oséph Fin.” According to J b. this individual was the only Verizon. -
~ employee on his payroll.

23. Records from Local Bitcoins and PayPal demonstrate that in May of 2018
JD paid $3,500 to the PayPal user “fendleyvzw@gmail.com.” Records from |
PayPal associate this user with the name “Mike J ames,” a phone number |
ending in 1928, and a Suntrust Bank account ending in 8436.

. 24. Mike James is an alias—records from Verizon link the phone number and

the bank account provided by PayPal to their employee FENDLEY:

JOSEPH.
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25. Records from Google associate the “fendleyvzw” Gmail account with
“Fendley Joseph.”

26. Communications from JD to JOSEPH, as well as the payments made to
JOSEPH, travelled via wire in interstate commerce originating in the Eastern
District of Michigan. |

CONCLUSION ©

27. Based on the aforementioned information, affiant believes that probable
cause exists that in or about May of 2018, in the Eastern District of
Michigan and elsewhere, JARRATT WHITE, ROBERT JACK, and

FENDLEY JOSEPH knowingly and willfully participated in a scheme to
defraud through the transmission wire communication in interstate
commerce for the purpose of executing said scheme. Based upon the
foregoing facts, there is probable cause to believe that JARRATT WHITE,
ROBERT JACK, and FENDLEY JOSEPH committed wire fraud in

violation of Title 18, United States Code, Section 1343.

Mark R. Koch, Special Agent
Homeland Security Investigations
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Subscribed and sworn to before me

This 2nd Day of May 2019. -

- Honorable Anthony P. Patti

United States Magistrate Judge
